                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                             SOUTHERN DIVISION


IN RE:    ROBERT W. & SUSAN M. GEDDES
                                                                       Case Number: 09-68334 WSD
                                                                       Chapter 13
Debtor.                                                                Judge SHAPERO

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WILLIAM D. JOHNSON (P54823)
ACCLAIM LEGAL SERVICES, P.L.L.C.
26200 Lahser Rd. Ste. 330
Southfield, MI 48033
(248) 443-7033
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                                      ORDER APPROVING FEE APPLICATION

         This matter having come before the Court upon the application of approval of fees and costs pursuant to LBR 9014, all
interested parties having been served with notice of the application and the provisions of LBR 2016-1 having been met, no objections
to the application having been received and a certification of no response having been filed, and the Court being otherwise fully
advised in the premises;

          IT IS HEREBY ORDERED:

          1.      The Court approves Applicant’s fees and expenses as follows:

                  THIS AWARD FOR FEES:                                  $3,693.00
                  THIS AWARD FOR COSTS:                                 $57.68
                  TOTAL THIS AWARD:                                                               $3,750.68

                  GRAND TOTAL FEES AND COSTS                                                      $3,750.68

                  LESS AMOUNT PAID DIRECTLY BY DEBTOR                                             ($0.00)

                  BALANCE TO BE PAID BY TRUSTEE                                                   $3,750.68


          2.      The fees requested herein are for services rendered after August 21, 2009 up through June 1, 2010.




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Signed on July 13, 2010
                                                                                     /s/ Walter Shapero
                                                                                 Walter Shapero
                                                                                 United States Bankruptcy Judge




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